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                EXHIBIT C
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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
 · MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, JOHN DOE, JANE DOE I, JANE
   DOE 2, AND JANE DOE 3,

                        Plaintiffs,

  V.                                                           Civil Action No.: 3:17CV00072

  JASON KESSLER, et al.

                        Defendants.

                        DEFENDANTS RULE 26(a) DISCLOSURES

        NOW COME Defendants Christopher Cantwell, Nathan Damigo, Matthew Heimbach,

 Identity Europa, Jason Kessler, Elliot Kline, National Socialist Movement, Nationalist Front,

 Matthew Parrott, Jeff Schoep, Traditionalist Worker Party, Vanguard America, and Robert Ray,

 through Counsel, make the following disclosures.




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          A. Individuals Likely to Have Discoverable Information:

             Upon information and belief, all Plaintiffs and Defendants have information as to the

             allegations in the Complaint and any Answers as to whether the facts alleged are true. In

             addition to the parties, Defendants identify the following individuals:

     I.          Detective Steven Young
                 Charlottesville Police Department
                 606 E. Market St.
                 Charlottesville, Virginia 22902
                 434.970.3280

                 Summary: According to news articles, Detective Young participated in the
                 apprehension and questioning of Fields. Upon information and belief, Detective
                 Young has information about the absence of documentation that Fields was a member
                 of any white nationalist group on searches of Fields' phone, computer and social
                 media and has information as to his countenance and statements following his arrest.

     2.         Chief Al Thomas
                Charlottesville Police Department
                606 E. Market St.
                Charlottesville, Virginia 22902
                434.970.3280

                Summary: Chief Al Thomas was the Chief of Police for the City of Charlottesville
                during the time of all allegations in the Complaint. Upon information and belief, Chief
                Thomas has information as to the security plans, pedestrian routes and road closures
                intended by the City of Charlottesville and his department in preparation for the rally
                and whether those plans were followed.

     3.         Lieutenant Joe Hatter
                Charlottesville Police Department
                606 E. Market St.
                Charlottesville, Virginia 22902
                434.970.3280

                Summary: Lieutenant Hatter was the supervisor of the investigations unit and
                recommended additional options such as a wrought-iron fence and officers on
                horseback for crowd control.

     4.         Captain Victor Mitchell
                Charlottesville Police Department

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             606 E. Market St.
             Charlottesville, Virginia 22902
             434.970.3280

             Summary: Captain Mitchell was designated by Chief Thomas as the incident
             commander and assisted in the design of the CPD operation plan for the rally. Upon
             information and belief, Captain Mitchell has information as to the security plans,
             pedestrian routes and road closures intended by the City of Charlottesville and his
             department in preparation for the rally and whether those plans were followed.

     5.     Lieutenant Steve Knick
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Upon information and belief, Lieutenant Knick has information as to the
            security plans, pedestrian routes and road closures intended by the City of
            Charlottesville and his department in preparation for the rally and whether those plans
            and recommendations were followed.

     6.     Lieutenant Tito Durrette
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Upon information and belief, Lieutenant Durrette has information as to the
            security plans, pedestrian routes and road closures intended by the City of
            Charlottesville and his department in preparation for the rally and whether those plans
            and recommendations were followed.

     7.     Sergeant Tony Newberry
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Upon information and belief, Sergeant Newberry has information as to the
            security plans, pedestrian routes and road closures intended by the City of
            Charlottesville and his department in preparation for the rally and whether those plans
            and recommendations and plans were followed.

     8.     Chief Rick Lantz

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              Albemarle County Police Department
              1600 5th St. NE
              Charlottesville, Virginia 22902
              434.296.5807

              Summary: Upon information and belief, Chief Lantz has information as to the security
              plans and offers of assistance to Charlottesville PD and attempts, if any, by
              Charlottesville PD and Chief Thomas to obtain assistance from Albemarle County PD
              to control crowds and prevent violence at the rally.

      9.      Captain Sean Reeves
              Albemarle County Police Department
              1600 5th St. NE
              Charlottesville, Virginia 22902
              434.296.5807

              Summary: Upon information and belief, Captain Reeves has information as to the
              security plans and offers of assistance to Charlottesville PD and attempts, if any, by
              Charlottesville PD and Chief Thomas to obtain assistance from Albemarle County PD
              to control crowds and prevent violence at the rally.

      I 0.   Timothy J. Heaphy, Esquire
             Hunton & Williams
             951 East Byrd Street
             Richmond, VA 23219
             804.788.8401

             Summary: Mr. Heaphy conducted an external review of the City of Charlottesville•s
             plan and coordination in advance of the rally and has information regarding the security
             plans, pedestrian routes and road closures in advance of the rally as well as the identity
             of additional potential witnesses.

     11.     Mr. Maurice Jones
             Charlottesville City Manager
             POBox911
             Charlottesville, Virginia 22902

             Summary: Mr. Jones received the initial permit application and participated in event
             preparation and planning.


     12.     Ms. Michelle Christian
             Charlottesville Special Event Coordinator
             POBox911

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             Charlottesville, Virginia 22902

             Summary: Ms. Christian received the initial permit application and participated in
             event preparation and planning.

      13.   Ms. Miriam Dickler
            Charlottesville Director of Communications
            PO Box 911
            Charlottesville, Virginia 22902

            Summary: Ms. Dickler received the initial permit application and participated in event
            preparation and planning.

      14.   Mr. Brian Daly
            Charlottesville Director of Parks and Recreation
            POBox911
            Charlottesville, Virginia 22902

            Summary: Mr. Daly received the initial permit application and participated in event
            preparation and planning.

      15.   Mr. Paul Oberdorfer
            Charlottesville Director of Public Works
            POBox911
            Charlottesville, Virginia 22902

            Summary: Upon information and belief, Mr. Oberdorfer has information as to the
            security plans and road closures intended by the City of Charlottesville and his
            department in preparation for the rally and whether those plans and recommendations
            were followed.

     16.    Captain Wendy Lewis
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Captain Lewis was the primary point of contact with organizer Jason Kessler
            and participated in event preparation and planning as well as pre-event research into
            expected actions and number of participants of potential attendees and known counter
            protesters.

     17.    Brittany Caine-Conley
            Congregate Charlottesville

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             Charlottesville, Virginia

            Summary: In concert with Mr. Wispelwey, Caine-Conley is believed to have organized
            counter protesters and provided training in tactics to delay and obstruct the rally for
            interested individuals potentially including members of Black Lives Matter (BLM) and
            Standing up for Racial Justice (SURJ).

      18.   W. Lawton Tufts, Esquire
            Director of Public Service and Alumni Advising
            580 Massie Road
            Charlottesville, Virginia 22903
            434.924.7354

            Summary: Upon information and belief, Mr. Tufts participated in organizing and
            attempting to organize communications between BLM, Congregate Charlottesville
            Police Department and Congregate Charlottesville in advance of and preparation for the
            rally. Tufts advised membership of BLM and SURJ of warnings conveyed by law
            enforcement.

     19.    Anne Coughlin, Esquire
            Professor of Law
            580 Massie Road
            Charlottesville, Virginia 22903
            434.924.7354

            Summary: Upon information and belief, Ms. Coughlin participated in organizing and
            attempting to organize communications between BLM, Congregate Charlottesville
            Police Department and Congregate Charlottesville in advance of and preparation for the
            rally and may have attended the rally.

     20.    Mayor Michael Signer, Esquire
            Charlottesville City Hall
            POBox911
            Charlottesville, Virginia 22902

            Summary: Mayor Signer reviewed the permit applications and participated in event
            preparation and planning for the rally. Upon information and belief, he further
            participated in personnel, security and law enforcement decision making as well as
            consideration of moving the rally to a different location.

     21.    Captain Craig Worsham
            Virginia State Police
            240 Third Division Loop
            Appomattox, Virginia 24522

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            Summary: Upon information and belief, Captain Worsham was in charge of
            coordinating the Virginia State Troopers assigned to police the rally as well as staffing
            and planning VSP response.

      22.   Fire Chief Andrew Baxter
            Charlottesville Fire Department
            203 Ridge Street
            Charlottesville, Virginia 22902
            434.970.3240

            Summary: Fire Chief Baxter has information regarding the emergency services plan for
            the rally by the Charlottesville Fire Department and the decision to request an "Incident
            Management Team from the Virginia Department of Emergency management. Upon
            information and belief, he may also have information regarding revisions to the plans
            as per input from VDEM.


     23.    Deputy Fire Chief Mike Rogers
            Charlottesville Fire Department
            203 Ridge Street
            Charlottesville, Virginia 22902
            434.970.3240

            Summary: Deputy Fire Chief Rogers has information regarding the emergency services
            plan for the rally by the Charlottesville Fire Department.

     24.    Deputy Fire Chief Emily Pelliccia
            Charlottesville Fire Department
            203 Ridge Street
            Charlottesville, Virginia 22902
            434.970.3240

            Summary: Deputy Fire Chief Pelliccia has information regarding the emergency
            services plan for the rally by the Charlottesville Fire Department and the coordination
            with the Virginia Department of Emergency Management.

     25.    Emily Gorcenski
            "Charlottesville Activist"
            Address unknown

            Summary: Emily Gorcenski reportedly has information regarding events and
            information shared leading up to the march and rally and is believed to have been
            present at both the march and the rally.

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      26.   Chief Michael Gibson
            University of Virginia Police
            2304 Ivy Road
            Charlottesville, Virginia
            434.924.7166

            Summary: Chief Gibson may have information regarding notice to the University and
            planning of the "torch march" referenced in the Complaint.

     27.    Diane Hueschen, civilian employee
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Hueschen is believed to have been the lone officer blocking vehicle access
            to 2nd Street NE and High Street.

     28.    Tammy Shiflett, school resource officer
            Charlottesville Police Department
            606 E. Market St.
            Charlottesville, Virginia 22902
            434.970.3280

            Summary: Shiflett is believed to be the lone officer blocking vehicle access at 4th Street
            and NE Market Street. She is further believed to have communicated with Captain
            Lewis regarding the movement of the crowd in her direction. Upon information and
            belief, she was instructed to move her car out of the intersection leaving the intersection
            blocked by only a wooden sawhorse while the crowd of counter-protesters was pushed
            toward this area by law enforcement.

     29.    Any party to case #
            2017 CV00078

            Summary: Said individuals are parties to litigation covering the same incident as this
            lawsuit.




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      30.        Ms. Samantha Bloom
                 Mother ofJames Fields
                 Maumee, Ohio

                 Summary: Ms. Bloom may have information as to her son's plans to attend the rally in
                 Virginia.


        B. Documents, Data, Compilation and Tangible Things

            Fields is in possession of the following documents, data compilation or tangible things all

            of which are available on the internet.

            I.       News media incident reports and descriptions of the incidents sued upon from
                     various newspapers and websites including but not limited to:
                     a. Richmond Times Dispatch
                     b. Washington Post
                     c. Daily Progress
                     d. The Guardian
                     e. New York Times
                     f. Vox.com
                     g. Time Magazine

            IL Numerous open source videos are available on Youtube as well as media websites
                 such as CNN purporting to show cell phone video of the rally as well as the car
                 accident.

            Ill. "Independent Review of the 2017 Protest Events In Charlottesville, Virginia"
                    authored by Timothy J. Heaphy, Esq. Hunton & Williams, LLP dated 11.24.17.


       C. Insurance Agreement That Might Be Applicable to James Alex Fields, Jr.

       None known to disclosing defendants.




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                                                 Respectfully Submitted,

                                                s/ Elmer Woodard       __________
                                                ELMER WOODARD (VSB 27734)
                                                5661 US Hwy 29
                                                Blairs, Va. 24527
                                                (434) 878-3422
                                                isuecrooks@comcast.net
                                                Trial Attorney for Christopher Cantwell, Nathan Damigo,
                                        Matthew Heimbach, Identity Europa, Jason Kessler, Elliot Kline,
                                        National Socialist Movement, Nationalist Front, Matthew Parrott,
                                        Jeff Schoep, Traditionalist Worker Party, Vanguard America, and
                                        Robert Ray

                                                s/ James E. Kolenich (PHV)
                                                _________________________________
                                                JAMES E. KOLENICH (OH 77084)
                                                9435 Waterstone Blvd. #140
                                                Cincinnati OH 45249
                                                (513) 444-2150
                                                (513) 297-6065 (Fax)
                                                JEK318@GMAIL.COM
                                                Trial Attorney for Christopher Cantwell, Nathan Damigo,
                                        Matthew Heimbach, Identity Europa, Jason Kessler, Elliot Kline,
                                        National Socialist Movement, Nationalist Front, Matthew Parrott,
                                        Jeff Schoep, Traditionalist Worker Party, Vanguard America, and
                                        Robert Ray



                                        CERTIFICATE OF SERVICE

   I hereby certify this Notice and all accompanying documents were served via electronic mail on
   November 20, 2017 upon:

   All parties of record. No party is entitled to or has requested service by other means except as listed below

   Michael Peinovich, Defendant prose
   519 E. 82nd Street, Apt. 2C New York, NY I 0028


   Richard Spencer
   1001-A King Street Alexandria, Virginia 22314

   Loyal White Knights of the Ku Klux Klan
   c/o Chris and Amanda Baker
   PO Box 54
   Pelham, NC 27311

                                                         s/ Elmer Woodard
                                                         ___________________
                                                         E. Woodard (VSB 27734)
